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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES—GENERAL

Case No.       CV 22-4132-DMG (Ex)                                                  Date     June 24, 2022

Title Rolling Roles, LLC, et al. v. Red Velvet Entertainment, Inc., et al.                         Page     1 of 1

Present: The Honorable           DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                KANE TIEN                                                          NOT REPORTED
                Deputy Clerk                                                        Court Reporter

    Attorneys Present for Plaintiff(s)                                   Attorneys Present for Defendant(s)
             None Present                                                          None Present


Proceedings: IN CHAMBERS—ORDER TO SHOW CAUSE WHY THIS ACTION
             SHOULD NOT BE DISMISSED FOR LACK OF SUBJECT MATTER
             JURISDICTION

        On June 20, 2022, Plaintiffs Rolling Roles, LLC and Miranda Chen, also known as Jie
Chen, filed a Complaint in this Court against Defendants Red Velvet Entertainment, Inc.
(Wyoming), Red Velvet Entertainment, Inc. (California), Christina Ferra Gilmore, Blood
Pageant, LLC, Ferra-Gilmore and Janovich Partners, doing business as Red Velvet
Entertainment, Inc., Anthony J. Sands, Mark Askey, Robert Burton, Alan Bailey, Gayle Gaston,
Gene Gilmore, and Leonard Anthony Gilmore. [Doc. # 3.] Plaintiffs assert 25 claims for fraud,
misrepresentation, conversion, breach of fiduciary duty, fraudulent conveyance, conspiracy,
violations of California’s Unfair Competition Law, intentional and negligent infliction of
emotional distress, breach of contract, and unjust enrichment, all related to Plaintiffs’ investment
in the production of a film.

        “Federal courts are courts of limited jurisdiction and, as such, cannot exercise jurisdiction
without constitutional and statutory authorization.” Hansen v. Grp. Health Coop., 902 F.3d
1051, 1056 (9th Cir. 2018). Plaintiffs invoke this Court’s federal question jurisdiction, and assert
that “certain of the claims asserted herein arise under the laws of the United States.” Compl. ¶
21. But Plaintiffs’ Complaint does not appear to identify any federal claims.1

       Plaintiffs are therefore ORDERED to show cause why their Complaint should not be
dismissed for lack of subject matter jurisdiction. Plaintiffs shall file a response identifying the
basis for this Court’s jurisdiction no later than July 5, 2022. Failure to do so will result in
dismissal of Plaintiffs’ Complaint, without prejudice.

IT IS SO ORDERED.
         1
          It appears that diversity jurisdiction does not exist: Plaintiffs allege that Chen resides in California, see
Compl. ¶ 1, and that the individual Defendants all reside in California, see id. at ¶¶ 3, 9-15.

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